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                                  UNITED STATES DISTRICT COURT
                                       WESTERN DISTRICT OF WASHINGTON
                                             OFFICE OF THE CLERK
                                                      Seattle
                                            700 Stewart St., Suite 2310
                                                Seattle, WA 98101
                                                 (206) 370-8400




 RAVI SUBRAMANIAN                                                                              ERIC SMITS
District Court Executive                                                                    Chief Deputy Clerk
     Clerk of Court




                                                July 21, 2022


       CLERK, US DISTRICT COURT
       Daniel Patrick Moynihan
       United States Courthouse
       500 Pearl Street, Room 550
       New York, NY 10007-131

       Re: Ishan Wahi and Nikhil Wahi
       Your No: 22-cr-392
       Our No: MJ22-327

       Dear Clerk

       Pursuant to the order transferring the above captioned case to your court per RULE 5(c)(3)(D),
       dated July 21, 2022, please download the documents maintained electronically by the District
       Court through PACER for the Western District of Washington at
       https://ecf.wawd.uscourts.gov/.


       Please acknowledge receipt of this.


       Sincerely,


       RAVI SUBRAMANIAN, District Court Executive


       By Stefanie Prather,
       Deputy Clerk
